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                 EXHIBIT B-054
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                                             •

V.                                           •     CASE NO. t.tn:z-          ex ...0002~1



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     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
               RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests permission to use a recording device in
Courtroom ~'):)     in order to ~record images and/ or 64sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): lilcomputer of any size, including a
tablet, a notebook, and a laptop; ~smart phone, a cell phone or other wireless
phone;      camera and other audio or video recording devices D any similar
devices __
                                                                                         ~U1itf" q I fO Z'Z.
The proceedings that the undersigned desires to record commence on (date and
time)(f:~,..Subject    to direction from the court regarding possible pooled
coverage, the undersigned wishes to use this device in the courtroom on (date
and time) A~        c.,, 'ZOZ.Z. e ,,z.••'lO()f-'I.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual) __ . l~Frrt "-~                S Jt:~ AlAI(
                                                    A~     L f'-.)J)A t4 TOLn>&!' •
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The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


For questions or concerns email pio@fultoncountyqa.gov                                           1
Rule 22 (Rev. 04/ 01/ 18)
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                        Rule:22 (Rev. 04/.01/18) ,, '- ,                         ,•                •
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